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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


XE CORPORATION,                                  CV 20-39-BLG-TJC

                   Plaintiff/Counter-
                   Defendant,                    ORDER RESETTING
                                                 DEADLINES
vs.

THATCHER COMPANY of NORTH
DAKOTA, INC.,

                   Defendant/Counter-
                   Claimant.

      The parties have jointly moved the Court to reschedule certain deadlines set

forth in the June 3, 2020 Scheduling Order (Doc. 17). (Doc. 23.) Accordingly,

      IT IS HEREBY ORDERED that the motion (Doc. 23) is GRANTED. The

Scheduling Order dated June 3, 2020 (Doc. 17) is hereby amended as follows:

      Simultaneous Disclosure of
      Damages and Liability Experts:               December 16, 2020

      Disclosure of Rebuttal Expert
      Disclosures:                                 30 days after the other
                                                   party’s disclosure

      IT IS FURTHER ORDERED that all other deadlines and provisions of the

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Scheduling Order (Doc. 17) shall remain in full force and effect.

      IT IS ORDERED.

      DATED this 2nd day of November, 2020.

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                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
